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6                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WASHINGTON
7
      UNITED STATES OF AMERICA,
8
                                               NO. CR-09-0015-EFS-23
                       Plaintiff,
9
                                               PRELIMINARY ORDER OF
                 v.                            FORFEITURE
10

11    SCOTT NICHOLAS CASSELL (a/k/a
      Nicholas Scott Cassell) (23),
12
                       Defendant.
13

14

15        Pursuant to Federal Rule of Criminal Procedure 32.2(b), IT IS HEREBY

16   ORDERED: Defendant shall forfeit the assets, as outlined below, to the
17   United States pursuant to 21 U.S.C. § 853, as property constituting or
18   derived from proceeds obtained, directly or indirectly, as a result of
19
     the violations to which Defendant pled guilty, and as property used, or
20
     intended to be used, in any manner or part, to commit, or to facilitate
21
     the commission of those violations, including:
22
          1) $10,321.00 U.S. Currency seized on or about February 24, 2009.
23
          2) $2,035.00 U.S. Currency seized on or about February 24, 2009.
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     ORDER ~ 1
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1          IT IS SO ORDERED. The District Court Executive is directed to enter
2    this Order and to provide copies to all counsel.
3
           DATED this       26th      day of January 2010.
4

5
                                        s/Edward F. Shea
6                                       EDWARD F. SHEA
                                 United States District Judge
7

8    Q:\Criminal\2009\15.23.prelim.forfeit.wpd

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     ORDER ~ 2
